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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS

                                                       )
  INA STEINER, DAVID STEINER, and                      )
  STEINER ASSOCIATES, LLC,                             )
                                                       )
                         Plaintiffs,                   )
                                                       )
            v.                                         )
                                                       )
  EBAY INC., et al.
                                                       )
                                                           Case No.: 1:21-cv-11181-PBS
                         Defendants.                   )
                                                       )
                                                       )
                                                       )
                                                       )
                                                       )
                                                       )
                                                       )
                                                       )

                          DECLARATION OF MELISSA MILLS
                 IN SUPPORT OF MOTION FOR ADMISSION PRO HAC VICE

       I, Melissa Mills, state as follows:

       1.        I am an attorney licensed to practice law in the States of California and New York.

       2.        I am a partner at the law firm of Wilson Sonsini Goodrich & Rosati, P.C., 953 East

Third Street, Suite 100, Los Angeles, CA 90013-1952.

       3.        I am admitted to practice law in the State of California, United States District Court

for the Northern District of California, United States District Court for the Central District of

California, and United States Court of Appeals for the Ninth Circuit.

       4.        I am a member in good standing in every jurisdiction where I am admitted to

practice.

       5.        I have never been suspended or disbarred in any jurisdiction, and there are no

disciplinary proceedings pending against me in any jurisdiction.


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       6.      I have not previously had a pro hac vice admission to this court (or other admission

for a limited purpose under this rule) revoked for misconduct.

       7.      I have read and agree to comply with the Local Rules of the United States District

Court for the District of Massachusetts.

       Signed under the penalties of perjury on this November 7, 2023.



                                             /s/ Melissa Mills
                                             Melissa Mills




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